Case: 2:20-cv-00025-WOB-CJS Doc #: 16-2 Filed: 04/27/20 Page: 1 of 3 - Page ID#: 215




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     NORTHERN DIVISION
                                        AT COVINGTON

  NICHOLAS SANDMANN, by and through                  : Case No. 2:20-CV-00025-WOB-CJS
  his parents and natural guardians, TED             :
  SANDMANN and JULIE SANDMANN,                       : Judge William O. Bertelsman
                                                     :
                                Plaintiff,           : Magistrate Judge Candace J. Smith
                                                     :
           vs.                                       :
                                                     :
                                                     :
  ABC NEWS, INC.,                                    :
                                                     :
  and                                                :
                                                     :
  ABC NEWS INTERACTIVE, INC.,                        :
                                                     :
  and                                                :
                                                     :
                                                     :
  THE WALT DISNEY COMPANY,                           :

                                Defendants.

         DECLARATION OF NATHAN SIEGEL IN SUPPORT OF ABC’S MOTION TO
                                  DISMISS

           I, Nathan Siegel, declare:

        1. I am a partner at Davis Wright Tremaine LLP, counsel to Defendants (“ABC”) in this action. I

           submit this declaration in support of ABC’s motion to dismiss (the “Motion”).

        2. Attached to the Motion as Exhibit 1 is a true and correct copy of the article reproduced in Exhibit

           G of the Complaint in this action (the “First ABC Article”).

        3. Attached to the Motion as Exhibits 1-A through 1-C are videos embedded in or hyperlinked to by

           the First Article:

                 a. Exhibit 1-A is a true and correct copy of the Good Morning America report embedded in

                    the First Article (the “First GMA Story”).




  4837-4476-1019v.1 0019918-000075
Case: 2:20-cv-00025-WOB-CJS Doc #: 16-2 Filed: 04/27/20 Page: 2 of 3 - Page ID#: 216




            b. Exhibit 1-B is a true and correct copy of a video hyperlinked to by the First Article,

                available at https://youtu.be/sIG5ZB0fw1k.

            c. Exhibit 1-C is a true and correct copy of a video hyperlinked to by the First Article,

                available at https://twitter.com/mariajudy_/status/1086681831804674048.

     4. Attached to the Motion as Exhibit 2 is a true and correct copy of the article reproduced in Exhibit

        H to the Complaint in this action (the “Second ABC Article”).

     5. Attached to the Motion as Exhibits 2-A and 2-B are videos embedded in the Second Article:

            a. Exhibit 2-A is a true and correct copy of the Good Morning America report embedded in

                the Second Article (the “Second GMA Story”).

            b. Exhibit 2-B is a true and correct copy of the other video embedded in the Second Article.

     6. Attached to the Motion as Exhibit 3 is a true and correct copy of the article reproduced in Exhibit

        I to the Complaint in this action (the “Third ABC Article”).

     7. Attached to the Motion as Exhibits 3-A and 3-B are videos embedded in the Third ABC Article:

            a. Exhibit 3-A is a true and correct copy of the ABC7 Eyewitness News story embedded in

                the Third ABC Article (the “ABC7 Story”).

            b. Exhibit 3-B is a true and correct copy of the other video embedded in the Third ABC

                Article.

     8. Attached to the Motion as Exhibit 4 is a true and correct copy of the article reproduced in Exhibit

        J to the Complaint in this action (the “Fourth ABC Article”).

     9. Attached to the Motion as Exhibits 4-A and 4-B are videos embedded in the Fourth ABC Article:

            a. Exhibit 4-A is a true and correct copy of the first video embedded in the Fourth ABC

                Article.




  4837-4476-1019v.1 0019918-000075
Case: 2:20-cv-00025-WOB-CJS Doc #: 16-2 Filed: 04/27/20 Page: 3 of 3 - Page ID#: 217




            b. Exhibit 4-B is a true and correct copy of the second video embedded in the Fourth ABC

                Article.

     10. Exhibits 1 through 4 are contained on a DVD which has been filed and served in hard copy.

         I declare under the penalties of perjury that the foregoing is true and correct.

  Dated: April 27, 2020                                 /s/ Nathan Siegel
                                                        Nathan Siegel




  4837-4476-1019v.1 0019918-000075
